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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 GARRY EARL SHIDLER,                    )
                                        )
                    Plaintiff,          )
                                        )     CAUSE NO. 3:05-CV-804 AS
       v.                               )
                                        )
 ROBERT MOORE, et al.                   )
                                        )
                    Defendants.         )

                                 OPINION AND ORDER

       Garry Earl Shidler, a pro se prisoner, submitted a complaint under 42

 U.S.C. § 1983. Pursuant to 28 U.S.C. § 1915A, the court must review the merits

 of a prisoner complaint and dismiss it if the action is frivolous or malicious, fails

 to state a claim upon which relief may be granted, or seeks monetary relief against

 a defendant who is immune from such relief. FED . R. CIV . PRO . 12(b)(6) provides

 for the dismissal of a complaint, or any portion of a complaint, for failure to state

 a claim upon which relief can be granted. Courts apply the same standard under

 § 1915A as when addressing a motion under Rule 12(b)(6). Weiss v. Colley, 230

 F.3d 1027 (7th Cir. 2000).

       A claim may be dismissed only if it appears beyond doubt that the
       plaintiff can prove no set of facts in support of his claim which would
       entitle him to relief. Allegations of a pro se complaint are held to less
       stringent standards than formal pleadings drafted by lawyers.
       Accordingly, pro se complaints are liberally construed.

              In order to state a cause of action under 42 U.S.C. § 1983, the
       Supreme Court requires only two elements: First, the plaintiff must
       allege that some person has deprived him of a federal right. Second,
       he must allege that the person who has deprived him of the right
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       acted under color of state law. These elements may be put forth in
       a short and plain statement of the claim showing that the pleader is
       entitled to relief. FED . R. CIV . P. 8(a)(2). In reviewing the complaint on
       a motion to dismiss, no more is required from plaintiff's allegations
       of intent than what would satisfy Rule 8's notice pleading minimum
       and Rule 9(b)'s requirement that motive and intent be pleaded
       generally.

 Alvarado v. Litscher, 267 F.3d 648, 651 (7th Cir. 2001) (citations, quotation marks

 and ellipsis omitted).



                                 I. RELIGION CLAIMS

       Mr. Shidler alleges that various defendants prevented him from practicing

 his religion. He alleges that these acts violated his rights under the First and

 Fourteenth Amendments as well as the Religious Freedom Restoration Act (RFRA),

 42 U.S.C. § 2000bb.

                                 A. First Amendment

       Under the First Amendment, prisoners “retain the right to practice their

 religion to the extent that such practice is compatible with the legitimate

 penological demands of the state.” Al-Alamin v. Gramley, 926 F.2d 680, 686 (7th

 Cir. 1991). A prison regulation or policy that might otherwise unconstitutionally

 impinge on an inmate’s First Amendment rights will survive a challenge if it is

 reasonably related to legitimate penological interests. See Turner v. Safley, 482

 U.S. 78, 89 (1987) and O’Lone v. Estate of Shabazz, 482 U.S. 342, 353 (1987).




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 “[T]he prison is entitled to curtail these rights to the extent necessary to protect

 security.” Johnson-Bey v. Lane, 863 F.2d 1308, 1310 (1988).

       Prison administrators should be accorded wide-ranging deference in
       the adoption and execution of policies and practices that in their
       judgment are needed to preserve internal order and discipline and to
       maintain institutional security.

 Whitley v. Albers, 475 U.S. 312, 321-322 (1986) (citations, ellipsis, and quotation

 marks omitted). “The ‘free’ exercise of religion thus is rather a misnomer in the

 prison setting.” Johnson-Bey v. Lane, 863 F.2d 1308, 1310 (7th Cir. 1988).

                            B. Fourteenth Amendment

       The    Fourteenth    Amendment         equal   protection   clause   prohibits

 discrimination and requires the evenhanded treatment of all religions.

       In providing [inmates the] opportunity [to practice their religion], the
       efforts of prison administrators, when assessed in their totality, must
       be evenhanded. Prisons cannot discriminate against a particular
       religion. The rights of inmates belonging to minority or non-
       traditional religions must be respected to the same degree as the
       rights of those belonging to larger and more traditional
       denominations. Of course, economic and, at times, security
       constraints may require that the needs of inmates adhering to one
       faith be accommodated differently from those adhering to another.
       Nevertheless, the treatment of all inmates must be qualitatively
       comparable.

 Al-Alamin v. Gramley, 926 F.2d 680, 686 (7th Cir. 1991) (citations omitted).

 Though Mr. Shidler states generally that his rights under the Fourteenth

 Amendment were violated, the facts he alleges do not indicate that his religion was

 treated any differently, that similarly situated inmates of other religions were

 treated differently, or that he would have been treated differently if he had been

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 attempting to practice a different religion. Therefore the Fourteenth Amendment

 is inapplicable and these claims will be dismissed.

                               C. RFRA and RLUIPA

       RFRA was declared unconstitutional as applied to state and local

 governmental entities and their employees. See City of Bourne v. Flores, 521 U.S.

 507 (1997). Nevertheless, the Congress subsequently enacted the Religious Land

 Use and Institutionalized Persons Act (RLUIPA) which provides that:

               No government shall impose a substantial burden on the
       religious exercise of a person residing in or confined to an institution
       . . . even if the burden results from a rule of general applicability,
       unless the government demonstrates that imposition of the burden
       on that person –
                     (1) is in furtherance of a compelling governmental
               interest; and
                     (2) is the least restrictive means of furthering that
               compelling governmental interest.

 42 U.S.C. § 2000cc-1(a). Therefore, even though the RFRA claims will be

 dismissed, those same claims will be analyzed under RLUIPA instead.

       RLUIPA does not define substantial burden, but in a case interpreting the

 land use provisions of RLUIPA, the Seventh Circuit has stated that

       a substantial burden on religious exercise is one that necessarily
       bears direct, primary, and fundamental responsibility for rendering
       religious exercise . . . effectively impracticable.

 Civil Liberties for Urban Believers v. City of Chicago, 342 F.3d 752, 761 (7th Cir.

 2003). The statute defines religious exercise to “include any exercise of religion,

 whether or not compelled by, or central to, a system of religious belief.” 42 U.S.C.


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 § 2000cc-5(7). Nevertheless, a substantial burden may be justified if it is the least

 restrictive means of furthering a compelling governmental interest.

              We do not read RLUIPA to elevate accommodation of religious
       observances over an institution’s need to maintain order and safety.
       Our decisions indicate that an accommodation must be measured so
       that it does not override other significant interests.
              ...
       Lawmakers supporting RLUIPA were mindful of the urgency of
       discipline, order, safety, and security in penal institutions. They
       anticipated that courts would apply the Act’s standard with due
       deference to the experience and expertise of prison and jail
       administrators in establishing necessary regulations and procedures
       to maintain good order, security and discipline, consistent with
       consideration of costs and limited resources.

 Cutter v. Wilkinson, ___ U.S. ___, ___; 125 S. Ct. 2113, 2123 (2005).

                      D. Individual and Official Capacity Claims

       Mr. Shidler seeks to bring both individual and official capacity claims. “[A]

 suit against a[n] . . . official in his or her official capacity is not a suit against the

 official but rather is a suit against the official's office.” Will v. Michigan Dep’t of

 State Police, 491 U.S. 58, 71 (1989). The Eleventh Amendment precludes damage

 claims against States as well as official capacity defendants. Meadows v. State of

 Indiana, 854 F.2d 1068, 1069 (7th Cir. 1988). Nevertheless, injunctive relief may

 be obtained from a person in his official capacity under the doctrine of Ex Parte

 Young. Holton v. Ind. Horse Racing Comm'n, 398 F.3d 928, 929 (7th Cir. 2005).

                          E. The “P” and “N” Housing Units

       Mr. Shidler alleges that he was housed on the “P” housing unit from April

 25, 2004 until approximately July 31, 2004 when he was transferred to “N”

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 housing unit, and that he was held there until approximately November 1, 2004

 when he was transferred to the “E” housing unit. He alleges that all inmates in the

 “P” housing unit were denied communal worship. He does not mention why he

 was denied communal worship while he was in the “N” housing unit. Because he

 alleges that inmates in the “P” housing unit are no longer denied communal

 worship and because he is no longer housed in either the “P” or “N” housing units,

 these official capacity claims will be dismissed. Compare Higgason v. Farley, 83

 F.3d 807, 811 (7th Cir. 1996) (When “a prisoner is transferred to another prison,

 his request for injunctive relief against officials of the first prison is moot unless

 he can demonstrate that he is likely to be retransferred.”(Quotation marks and

 citations omitted.))

       Though it is entirely possible that restricting communal worship in “P” and

 “N” housing units was reasonably related to legitimate penological interests and

 was necessary to protect security, giving Mr. Shidler the benefit of the inferences

 to which he is entitled at the pleading stage of this proceeding, he has stated a

 claim for monetary damages for a violation of the First Amendment.

       Mr. Shidler does not allege that he suffered any physical injury.

              No Federal civil action may be brought by a prisoner confined
       in a jail, prison, or other correctional facility, for mental or emotional
       injury suffered while in custody without a prior showing of physical
       injury.




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 42 USCS § 1997e(e). Though it is clear that 42 U.S.C. §1997e(e) does not restrict

 damages in a First Amendment constitutional claim,1 it is unclear whether it

 precludes monetary damages in a statutory RLUIPA claim. To date, it does not

 appear that any federal court has published an opinion addressing this question.

 Therefore, giving Mr. Shidler the benefit of the inferences to which he is entitled

 at the pleading stage of this proceeding, he has stated a claim for monetary

 damages for a violation of RLUIPA related to the denial of communal worship while

 he was housed in both “P” and “N” housing units.

        Having determined that these allegations state a claim, it is necessary to

 determine who is/are the proper defendant(s) for these claims. Mr. Shidler names

 Chaplin Babb, Grievance Specialist Sgt. Bowman, Unknown July 21, 2004

 Grievance Committee Members 1-3, Administrative Assistant Chris Johnson, and

 Regional Director Linda VanNatta. The factual basis for naming all of these




        1
                 W e agree that, absent a showing of physical injury, § 1997e(e) would bar a
         prisoner's recovery of com pensatory damages for m ental and em otional injury. But
         if that sam e prisoner alleges som e other type of non-physical injury, the statute
         would not foreclose recovery, assuming that the dam ages sought were not "for" any
         mental or em otional injuries suffered. This view is not novel. Indeed, in the context
         of First Am endm ent claim s, we have held explicitly that prisoners need not allege
         a physical injury to recover damages because the deprivation of the constitutional
         right is itself a cognizable injury, regardless of any resulting m ental or emotional
         injury. Using a sim ilar rationale, several of our sister circuits have concluded that
         § 1997e(e) does not bar all recovery for violations of due process or the right to
         privacy. These decisions reflect an em erging view that § 1997e(e), as the plain
         language of the statute would suggest, limits recovery "for mental and emotional
         injury," but leaves unaffected claim s for nom inal and punitive dam ages, which seek
         to rem edy a different type of injury.
 Calhoun v. Detella, 319 F.3d 936, 940-41 (7th Cir. 2003) (Quotation m arks, square brackets, and
 citations om itted).

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 defendants is that they reviewed and responded to his grievance about the lack

 of communal worship for inmates located in the “P” housing unit.

       Section 1983 creates a cause of action for damages based on personal

 liability. A person cannot be held liable under § 1983 unless the person was

 personally involved in the alleged wrongdoing. A plaintiff must allege facts showing

 the defendant’s participation or direct responsibility for the conditions of which

 he complains, Starzenski v. City of Elkhart, 87 F.3d 872, 879 (7th Cir. 1996), by

 demonstrating a causal link between the defendant’s conduct and the plaintiff’s

 injury. Benson v. Cady, 761 F.2d 335, 339 (7th Cir. 1985). Based on the factual

 allegations in this complaint, it is reasonable to infer that Chaplin Babb and

 Administrative Assistant Chris Johnson may have implemented, enforced, or

 could have lifted the restrictions on communal worship for Mr. Shidler while he

 was in either the “P” or “N” housing units. Such an inference is not reasonable for

 Grievance Specialist Sgt. Bowman, Unknown July 21, 2004 Grievance Committee

 Members 1-3, and Regional Director Linda VanNatta. The first four grievance

 officials, though they had actual knowledge of the restriction, were low level

 personnel who neither created the policy nor could they have changed it.

 Furthermore, unlike the minimal civilized measures of life’s necessities,2 the right

 to communal worship is not absolute and these low level grievance officials lacked

 the authority or responsibility to weigh competing institutional concerns. Rather

       2
           See Farmer v. Brennan, 511 U.S. 825, 834 (1994).


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 they could merely implement established policies or address violations of them.

 Though a regional director is not a low level employee and does not lack either the

 authority or responsibility for such matters, the complaint and its attached

 grievance make clear that Linda VanNatta was only notified of the restrictions

 after they had already been lifted for the “P” housing unit and afer he had been

 transferred out of it. Neither the facts alleged in the complaint, nor their

 reasonable inferences, support the allegation that she new anything about the

 conditions in the “N” housing unit. Based on the facts alleged in this complaint,

 she lacked personal involvement in these claims and will therefore be dismissed.

                     F. Official Record of Religious Preference

       Mr. Shidler alleges that since approximately November 1, 2004 when he was

 placed in the “E” housing unit, he has been denied the opportunity to participate

 in Islamic communal worship because he is officially listed as a Christian. He

 states that he was not a Christian and had never practiced the Christian religion.

 After filing out several forms, his record was changed on December 9, 2004.

       Mr. Shidler does not contest the policy of limiting inmates to attending the

 religious programs of their listed religion. Rather, he only contests that his record

 was incorrect and, because he was unable to change it more quickly, he was

 prevented from engaging in communal worship during those 39 days. He does not

 allege that he was prohibited from changing his designated religion or that anyone

 prevented him or refused to change his record. Rather he merely alleges that for


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  perhaps Kafkaesque, Byzantine, procedural reason he was delayed. This does not

  state a claim because there is no allegation of an intent to deny him access to

  communal worship and “[n]egligence on the part of an official does not violate the

  Constitution”. Pierson v. Hartley, 391 F.3d 898, 902 (7th Cir. 2004).

                                  G. Religious Name

        Mr. Shidler alleges that he is not allowed to use his religious name to send

  or receive mail. Giving Mr. Shidler the benefit of the inferences to which he is

  entitled at the pleading stage of this proceeding, these allegations state a claim

  under both the First Amendment and RLUIPA for both monetary damages and

  injunctive relief. See Azeez v. Fairman, 795 F.2d 1296 (7th Cir. 1986) and IND .

  CODE 34-28-2-1.5.

        Having found a claim it is necessary to determine whether Mr. Shidler has

  named a proper defendant. Though he alleges that secretary R. Anderson notified

  him of this policy, a secretary is a low level employee who neither made nor could

  repeal this policy. Neither is it within a secretary’s authority to weigh competing

  institutional interests to determine whether this was the least restrictive means

  of furthering those interests. Therefore R. Anderson will be dismissed. Based on

  this complaint, it is reasonable to infer that Mr. Shidler is alleging that Chaplin

  Babb and Administrative Assistant Chris Johnson were aware of and are enforcing

  this policy. Therefore he will be permitted to proceed with this claim against those

  two defendants in both their individual and official capacities.


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                                 H. Confiscation of Mail

        Mr. Shidler alleges that he is being denied access to various religious

  materials which have been confiscated from his mail. The facts of this complaint

  do not contend that he is merely being denied religious materials; rather it

  contends that he is being denied mail addressed to any name other than his

  incarceration name and that packages of religious materials have been sent to his

  religious name. Based on the facts alleged in this complaint, it is a reasonable

  inference that the content of the packages is irrelevant. That is to say, he could

  not receive a package addressed to his religious name even if it containing non-

  religious property, but he could have receive a package addressed to his

  incarceration name even if it had contained the very same religious items he

  alleges have been confiscated from his mail. Because the facts in this complaint

  do not support an allegation of an intent to deprive Mr. Shidler of access to

  religious property, this is merely a property claim, not a religion claim.

        Though the Fourteenth Amendment provides that state officials shall not

  “deprive any person of life, liberty, or property, without due process of law”, a state

  tort claims act that provides a method by which a person can seek reimbursement

  for the negligent loss or intentional depravation of property meets the require-

  ments of the due process clause by providing due process of law. Hudson v.

  Palmer, 468 U.S. 517, 533 (1984) (“For intentional, as for negligent deprivations

  of property by state employees, the state's action is not complete until and unless


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  it provides or refuses to provide a suitable post deprivation remedy.”) Indiana’s

  tort claims act (INDIANA CODE § 34-13-3-1 et seq.) provides for state judicial review

  of property losses caused by government employees, and provides an adequate

  post-deprivation remedy to redress state officials’ accidental or intentional

  deprivation of a person’s property. Wynn v. Southward, 251 F.3d 588, 593 (7th

  Cir. 2001) (“Wynn has an adequate post-deprivation remedy in the Indiana Tort

  Claims Act, and no more process was due.”) Therefore, even though Mr. Shidler

  may have a state tort claim for the confiscation of his property, he does not have

  a federal claim.



                               II. GRIEVANCE CLAIMS

        Mr. Shidler alleges that he was denied the right to petition for a redress of

  grievances because they denied him access to the formal grievance process and

  did not respond to grievances that he filed. The Constitution does not require that

  a prison provide a formal grievance procedure nor adhere to their own procedures

  if they establish one. The violation of prison policy does not state a claim under

  § 1983. See Alvarado v. Litscher, 267 F.3d 648, 651 (7th Cir. 2001). “A citizen's

  right to petition the government does not guarantee a response to the petition or

  the right to compel government officials to act on or adopt a citizen's views.” Apple

  v. Glenn, 183 F.3d 477, 479 (6th Cir., 1999). “[T]he First Amendment right to

  petition the government for a redress of grievances protects a person's right to


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  complain to the government that the government has wronged him, but it does not

  require that a government official respond to the grievance.” Jones v. Brown, 300

  F. Supp. 2nd 674, 679 (N.D. Ind. 2003). Therefore these claims will be dismissed.



                     III. DENIAL OF ACCESS TO THE COURTS

        Mr. Shidler alleges that he was denied access to the courts because he was

  denied access to the law library on many different occasions and because his legal

  materials were confiscated. There is no “abstract, freestanding right to a law

  library . . . [and] an inmate cannot establish relevant actual injury simply by

  establishing that his prison's law library or legal assistance program is subpar in

  some theoretical sense.” Lewis v. Casey, 518 U.S. 343, 351 (1996). In Lewis v.

  Casey, 518 U.S. 343 (1996), the Supreme Court repudiated language in earlier

  case law and explained that state actors have no duty to assure that prisoners can

  litigate claims effectively once they have been raised in court. The right to access,

  goes no further than access.

        It must be acknowledged that several statements in Bounds went
        beyond the right of access recognized in the earlier cases on which it
        relied, which was a right to bring to court a grievance that the inmate
        wished to present . . . . These statements appear to suggest that the
        State must enable the prisoner to discover grievances, and to litigate
        effectively once in court. . . . These elaborations upon the right of
        access to the courts have no antecedent in our pre-Bounds cases,
        and we now disclaim them.

  Lewis v. Casey, 518 U.S. at 354. Lewis only requires that an inmate be given

  access to file a complaint or appeal, but state actors have no duty to assure that

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  prisoners can litigate those claims effectively once they have been raised in court.

  That is to say, Lewis does not require that Mr. Shidler ever be permitted access to

  the law library, only that he be permitted to file a complaint or appeal.

        Mr. Shidler does not allege, and based on his complaint and its attachments

  it would not be reasonable to infer, that he was denied the opportunity to file a

  complaint or appeal. Because he remained able to write to the court, he remained

  able to file a complaint, file an appeal, seek additional time to file or respond to

  motions, and request appointment of counsel. Though he alleges that he was

  denied copies, he does not allege that he was unable to send a single original

  stating that he was unable to obtain copies, therefore he was not denied access

  to the court. Though he alleges that he voluntarily dismissed a claim without

  prejudice because he was unable to litigate it effectively, the defendants have no

  obligation to empower him to litigate effectively. Finally, the confiscation of legal

  paperwork is merely a property loss if the papers are replaceable. Hossman v.

  Spradlin, 812 F.2d at 1022. Mr. Shidler does not allege, and based on this

  complaint it would not be reasonable to infer, that any unreturned legal papers

  were not otherwise replaceable. Therefore these claims will be dismissed.




                           IV. PRELIMINARY INJUNCTION




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        Along with his complaint, Mr. Shidler also seeks a temporary restraining

  order and preliminary injunction which would require the defendants to provide

  him access to all Islamic count letters; three hours a week in the law library; the

  ability to use his religious name on mail; and limitations on searches of his cell

  and seizures of his property.

        A party seeking to obtain a preliminary injunction must demonstrate:
        (1) its case has some likelihood of success on the merits; (2) that no
        adequate remedy at law exists; and (3) it will suffer irreparable harm
        if the injunction is not granted.

  Ty v. The Jones Group, 237 F.3d 891, 895 (7th Cir. 2001).

        All of the underlying claims in the complaint related to these injunctive

  requests have been dismissed in this screening order except for the one related to

  the use of a religious name on mail. For those dismissed claims, no injunctive

  relief is possible because Mr. Shidler has no chance of success on the merits on

  those claims. As for the use of his religious name on his mail: his likelihood of

  success on the merits is tenuous; if he is successful he can receive monetary

  compensation for this restriction (though it may be limited to nominal damages

  of $1.00); and he will not suffer irreparable harm because he retains access to the

  mail with his incarceration name and he does not allege that he is restricted from

  using his religious name inside his mail, only on the mailing label. Therefore the

  request for a TRO and a preliminary injunction will be denied.



                                  V. CONCLUSION

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        For the foregoing reasons, the court:

        (1) GRANTS Garry Earl Shidler leave to proceed against Chaplin Babb and

  Administrative Assistant Chris Johnson in their individual capacities for monetary

  damages for violations of both the First Amendment free exercise of religion clause

  and RLUIPA (42 U.S.C. § 2000cc-1) for denying him communal worship from April

  25, 2004 until approximately November 1, 2004 while he lived in “P” and “N”

  housing units;

        (2) GRANTS Garry Earl Shidler leave to proceed against Chaplin Babb and

  Administrative Assistant Chris Johnson in their individual capacities for monetary

  damages, and in their official capacities for injunctive relief, for violations of both

  the free exercise clause of the First Amendment and RLUIPA (42 U.S.C. § 2000cc-

  1) for denying him the ability to use his religious name to send or receive mail;

        (3) DENIES the request for a TRO and preliminary injunction (docket # 3);

        (4) DISMISSES all other claims;

        (5) DISMISSES Librarian Robert Moore, Grievance Specialist Sgt. Bowman,

  Assistant Superintendent Bruce Helming, Grievance Specialist K. Wright,

  Assistant to Superintendent Amy Clark, Chaplin Leslie, Counselor Kara Jones,

  Regional Director Linda VanNatta, Secretary R. Anderson, Correctional Officer

  Dennen, Administrative Assistant Lester Jeffries, Lt. Wagstaff, Correctional Officer

  Linville, Grievance Specialist Sgt. Duncan, Counselor D. Mann, 7-21-04 Grievance

  Committee Member John Doe 1, 7-21-04 Grievance Committee Member John Doe


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  2, 7-21-04 Grievance Committee Member John Doe 3, 9-7-05 Grievance

  Committee Member John Doe 4, 9-7-05 Grievance Committee Member John Doe

  5, 9-7-05 Grievance Committee Member John Doe 6, Correctional Officer Fewell,

  Assistant   Superintendent    Sally   Stevenson,    Librarian   Dr.      B.   Kasper,

  Superintendent John VanNatta, Counselor T. Heishman, and Case Work Manager

  T. Pretorious;

        (6) DIRECTS the clerk to transmit the summons and USM-285 for Chaplin

  Babb and Administrative Assistant Chris Johnson to the United States Marshals

  Service along with a copy of this order and a copy of the complaint;

        (7) DIRECTS the United States Marshals Service, pursuant to 28 U.S.C. §

  1915(d), to effect service of process on Chaplin Babb and Administrative Assistant

  Chris Johnson; and

        (8) ORDERS, pursuant to 42 U.S.C. § 1997e(g)(2), that Chaplin Babb and

  Administrative Assistant Chris Johnson respond, as provided for in the Federal

  Rules of Civil Procedure and N.D. IND . L.R. 10.1, only to the claims for which the

  plaintiff has been granted leave to proceed in this screening order.

        IT IS SO ORDERED.

        ENTERED: January       3 , 2006

                                            S/ ALLEN SHARP
                                        ALLEN SHARP, JUDGE
                                        UNITED STATES DISTRICT COURT




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